     Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 1 of 44




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

Brianna Boe, et al.,                   )
                                       )
Plaintiffs,                            )
                                       )
United States of America,              )
                                       )
Intervenor Plaintiff,                  )
                                       )
v.                                     ) Civil Action No. 2:22-cv-184-LCB
                                       )
Hon. Steve Marshall, in his official   )
capacity as Attorney General,          )
of the State of Alabama, et al.,       )
                                       )
Defendants.                            )

 DEFENDANTS’ RESPONSE TO MOTION TO QUASH SUBPOENAS BY
    AAP, WPATH, AND THE ENDOCRINE SOCIETY (DOC. 208)
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 2 of 44




                                          TABLE OF CONTENTS


Table of Contents ....................................................................................................... i

Table of Authorities .................................................................................................. ii

Introduction ................................................................................................................1

Background ................................................................................................................5

       A. Plaintiffs and the United States Told This Court to Defer to the
          Authority of their Preferred Medical Interest Groups .................................5

       B. This Court Relied on the Medical Interest Groups When It Granted a
          Preliminary Injunction .................................................................................9

       C. Evidence Suggests That the “Consensus” Offered by Plaintiffs and
          Relied on by the Court May Not Be a True, Scientifically Driven
          Consensus...................................................................................................10

       D. Defendants Propounded Subpoenas to AAP, WPATH, and the
          Endocrine Society, and Attempted to Work in Good Faith to
          Alleviate Concerns About Burdensomeness .............................................18

Legal Standard .........................................................................................................20

Argument..................................................................................................................21

       I. The Requested Information Is Highly Relevant Under Plaintiffs’ And
          The United States’ Theory .........................................................................21

       II. The Tailored Requests Do Not Impose An Undue Burden .......................26

       III. The Tailored Requests Do Not Violate The First Amendment .................29

Conclusion ...............................................................................................................34

Certificate of Service ...............................................................................................37




                                                              i
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 3 of 44




                                    TABLE OF AUTHORITIES

Cases

Adkins v. Christie,
  488 F.3d 1324 (11th Cir. 2007) ..........................................................................26

Coker v. Duke & Co., Inc.,
  177 F.R.D. 682 (M.D. Ala. 1998) .......................................................... 20, 21, 27

Distrib. Res. Mgmt., Inc. v. Peacock,
   No. 2:12-CV-00188-SLB, 2012 WL 2930787 (N.D. Ala. July 13, 2012) .........28

Dobbs v. Jackson Women’s Health Org.,
  142 S. Ct. 2228 (2022) ......................................................................................2, 4

Gibson v. Collier,
   920 F.3d 212 (5th Cir. 2019) ..............................................................................12

Goodman-Gable-Gould Co. v. Tiara Condo. Ass’n,
  2007 WL 9701863 (S.D. Fla. Mar. 30, 2007) ....................................................21

Herbert v. Lando,
  441 U.S. 153 (1979) ............................................................................................31

In re Blue Cross Blue Shield Antitrust Litig.,
    No. 2:13-CV-20000-RDP, 2018 WL 11425554
    (N.D. Ala. Oct. 24, 2018) ............................................................................ 21, 27

In re Grand Jury Proceeding,
    842 F.2d 1229 (11th Cir. 1988) ..........................................................................30

In re Grand Jury Subpoena,
    831 F.2d 225 (11th Cir. 1987) ............................................................................30

In re Motor Fuel Temperature Sales Pracs. Litig.,
    641 F.3d 470 (10th Cir. 2011) ..................................................................... 29, 32

In re Nat’l Hockey League Players’ Concussion Inj. Litig.,
    No. MDL142551SRNBRT, 2019 WL 5288281 (D. Minn. Oct. 18, 2019) .......24



                                                         ii
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 4 of 44




Jordan v. Comm’r, Miss. Dep’t of Corr.,
   947 F.3d 1322 (11th Cir. 2020) ..........................................................................22

Klay v. All Defendants,
   425 F.3d 977 (11th Cir. 2005) ..................................................................... 24, 26

Kosilek v. Spencer,
  774 F.3d 63 (1st Cir. 2014) .................................................................................12

League of Women Voters of Fla., Inc. v. Fla. Sec’y of State,
   32 F.4th 1363 (11th Cir. 2022) ...........................................................................23

Moore v. Armour Pharm. Co.,
  927 F.2d 1194 (11th Cir. 1991) ..........................................................................21

NAACP v. Ala. ex rel. Patterson,
  357 U.S. 449 (1958) ............................................................................................30

New York State Nat. Org. for Women v. Terry,
  886 F.2d 1339 (2d Cir. 1989) .............................................................................31

Oppenheimer Fund, Inc. v. Sanders,
  437 U.S. 340 (1978) ............................................................................................20

Otto v. City of Boca Raton,
   981 F.3d 854 (11th Cir. 2020) ............................................................................34

Perry v. Schwarzenegger,
   591 F.3d 1147 (9th Cir. 2010) ............................................................................34

Rosen v. Provident Life & Accident Ins. Co.,
  308 F.R.D. 670 (N.D. Ala. 2015) .......................................................................21

Rowlin v. Ala. Dep’t of Pub. Safety,
  200 F.R.D. 459 (M.D. Ala. 2001) .......................................................................27

Seattle Times Co. v. Rhinehart,
   467 U.S. 20 (1984) ..............................................................................................34

Stevenson v. Johnson Bros Corp.,
   No. 2:18-CV-1702-RDP, 2019 WL 1083781 (N.D. Ala. Mar. 7, 2019)............21


                                                         iii
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 5 of 44




United States v. Comley,
  890 F.2d 539 (1st Cir. 1989) ...............................................................................30

United States v. Duke Energy Corp.,
  218 F.R.D. 468 (M.D.N.C. 2003) ................................................................ 30, 33

United States v. Nixon,
  418 U.S. 683 (1974) ............................................................................................34

Univ. of Pa. v. EEOC,
  493 U.S. 182 (1990) ............................................................................................26


Rules

Fed. R. Civ. P. 26(b)(1)..................................................................................... 20, 24

Fed. R. Civ. P. 45(d)(3)(A)(iv) ................................................................................27


Regulations

Nondiscrimination in Health and Health Education Programs or Activities,
  Delegation of Authority, 85 Fed. Reg. 37160 (June 19, 2020) ..........................12


Exhibits

Ex. 1, Julia Mason & Leor Sapir, The American Academy of Pediatrics’ Dubious
   Transgender Science, WALL ST. JOURNAL (Apr. 17, 2022)
   https://www.wsj.com/articles/the-american-academy-of-pediatrics-dubious-
   transgender-science-jack-turban-research-social-contagion-gender-dysphoria-
   puberty-blockers-uk-11660732791.....................................................................11

Ex. 2, Aaron Sibarium, The Hijacking of Pediatric Medicine, THE FREE PRESS
   (Dec. 7, 2022) https://www.thefp.com/p/the-hijacking-of-pediatric-medicine..11

Ex. 3, Questioning America’s Approach to Transgender Health Care,
   THE ECONOMIST (Jul. 28, 2022)
   https://www.economist.com/united-states/2022/07/28/questioning-americas-
   approach-to-transgender-health-care. .................................................................12



                                                        iv
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 6 of 44




Ex. 4, Emily Bazelon, The Battle Over Gender Therapy, N.Y. TIMES MAGAZINE
   (June 15, 2022) https://www.nytimes.com/2022/06/15/magazine/gender-
   therapy.html ........................................................................................... 13, 14, 16

Ex. 5, Erica Ciszek et al., Discursive Stickiness: Affective Institutional Texts
   and Activist Resistance, 10 PUBLIC RELATIONS INQUIRY, No. 3 (2021) ..... 13, 14

Ex. 6, Videorecording of meeting at 2017 USPATH conference,
   https://www.youtube.com/watch?v=rfgG5TaCzsk ............................................14

Ex. 7, Abigail Shrier, Top Trans Doctors Blow the Whistle on “Sloppy” Care,
   THE FREE PRESS (Oct. 4, 2021)
       https://www.thefp.com/p/top-trans-doctors-blow-the-whistle ...................... 15

Ex. 8, Laura Edwards-Leeper & Erica Anderson, The Mental Health Establishment
   is Failing Trans Kids, WASH. POST (Nov. 24, 2021)
   https://www.washingtonpost.com/outlook/2021/11/24/trans-kids-therapy-
   psychologist/ .......................................................................................................15

Ex. 9, Joint Letter from USPATH and WPATH (Oct. 12, 2022),
   https://www.wpath.org/media/cms/Documents/
   Public%20Policies/2021/Joint%20WPATH%20USPATH%20
   Letter%20Dated%20Oct%2012%202021.pdf ....................................................16

Ex. 10, Genevieve Gluck, Top Trans Medical Association Collaborated With
   Castration, Child Abuse Fetishists, REDUXX (May 17, 2022)
   https://reduxx.info/top-trans-medical-association-collaborated-with-castration-
   child-abuse-fetishists/ ......................................................................................... 16

Ex. 11, Lisa Selin Davis, Kid Gender Guidelines Not Driven by Science,
   N.Y. POST (Sept. 29, 2022) https://nypost.com/2022/09/29/kid-gender-guide-
   lines-not-driven-by-science/. ..............................................................................16

Ex. 12, Videorecording of Dr. Tishelman’s presentation at 2022
   WPATH conference,
   https://twitter.com/SwipeWright/status/1571999221401948161 ....................... 17




                                                            v
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 7 of 44




Ex. 13, Azeen Ghorayshi, More Trans Teens Are Choosing ‘Top Surgery,’
   N.Y. TIMES (Sept. 26, 2022), https://www.nytimes.com/2022/09/26/health/
   top-surgery-transgender-teenagers.html .............................................................17

Ex. 14: Amanda Prestigiacomo, ‘Huge Money Maker’: Video Reveals
   Vanderbilt’s Shocking Gender ‘Care,’ Threats Against Dissenting Doctors,
   THE DAILYWIRE (Sept. 20, 2022), https://www.dailywire.com/news/huge-
   money-maker-video-reveals-vanderbilts-shocking-gender-care-threats-against-
   dissenting-doctors. ............................................................................................................ 18


Other Authorities

9A Wright & Miller, Federal Practice & Procedure § 2459 (3d ed.) ............. 21, 28

Aaron Devor, WPATH, History of the Association,
  https://www.wpath.org/about/history (last accessed Jan. 17, 2023) ..................17

Correction, 23 INT’L J. OF TRANSGENDER HEALTH S259 (2022),
  https://bit.ly/3qSqC9b .........................................................................................16

AAP Financial       Statements, June 30, 2021                                    and         2020, AAP,
  https://downloads.aap.org/AAP/PDF/American_Academy_of_Pediatrics-
  0621_FA-Final.pdf .............................................................................................27

Nonprofit Explorer - Endocrine Society, PROPUBLICA (fiscal year 2020),
  https://projects.propublica.org/nonprofits/organizations/730531256 ...............28

WPATH, WPATH Condemns Dangerous Misinformation (Sept. 23, 2022),
  https://perma.cc/QL62-7WP9 .............................................................................17

WPATH et al., Statement Regarding Interim Service Specification for the Specialist
  Service for Children and Young People with Gender Dysphoria (Phase 1
  roviders) by NHS England (Nov. 25, 2022), https://perma.cc/VTM7-LEE6.......9




                                                                 vi
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 8 of 44




                                   INTRODUCTION

       Try as they might, the American Academy of Pediatrics (AAP), the World

Professional Association for Transgender Health (WPATH), and the Endocrine So-

ciety cannot shoehorn their position into the one faced by Eagle Forum and South-

east Law Institute. Unlike with the current movants, no one—not the parties, not this

Court, and not the medical interest groups themselves—so much as mentioned Eagle

Forum or Southeast Law Institute in pleadings, evidentiary submissions, testimony,

amicus filings, or the Court’s preliminary injunction order. Why? Because no action

or opinion by Eagle Forum or Southeast Law Institute could make it more or less

likely that Alabama’s Vulnerable Child Compassion and Protect Act passes consti-

tutional muster. Their actions and positions are irrelevant to the case. Thus, when

the U.S. Department of Justice demanded that they produce irrelevant, protected

communications, Defendants supported the organizations’ motion to quash.1

       Under Defendants’ reading of the Constitution, the opinions of AAP,

WPATH, and the Endocrine Society are largely irrelevant as well. That is because it

is the State Legislature that has the duty to regulate medicine, and the “normal rule”

is “that courts defer to the judgments of legislatures”—not self-interested medical

interest groups—“in areas fraught with medical and scientific uncertainties.” Dobbs


1
 See Defs’ Br. in Supp. of Mot. to Quash, Doc. 158-1; Defs’ Mot. for Partial Judgment on the
Pleadings, Doc. 157; Def’s Reply in Supp. of Mot. for Partial Judgment on the Pleadings, Doc.
200.

                                             1
       Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 9 of 44




v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2268 (2022) (cleaned up and

emphasis added). So, for example, even though AAP recently told the Supreme

Court that abortion is “widely accepted” medical “care,” the high court refused to

defer. It listened instead to the voice that mattered: the state legislature’s. “[T]he

position of the American Medical Association” and other medical interest groups

may be relevant to “a legislative committee,” the Court explained, but it could not

“shed light on the meaning of the Constitution.” Id. at 2267 (cleaned up).

         Plaintiffs and the United States offer a different standard. From the beginning,

they have made the positions of medical interest groups—particularly AAP,

WPATH, and the Endocrine Society—central to their case. Over and over they in-

voked as “authoritative” the positions of these groups to argue against the constitu-

tionality of Alabama’s legislative judgment. E.g., Pls’ PI Reply, Doc. 89 at 23.2 That

was true in their complaints, briefing, and witness testimony. Over a third of Plain-

tiffs’ exhibits at the preliminary injunction hearing consisted solely of position state-

ments from medical interest groups. See Docs. 78-15, 78-17, 78-18, 78-20 through

78-28, 78-30, 78-31, 78-32. According to Plaintiffs and the United States, it is the

consensus of these groups that sets the constitutional floor. See Pls’ PI Reply, Doc.

89 at 23.




2
    Citations are to the ECF-stamped page number.

                                                2
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 10 of 44




      This Court endorsed that argument, relying on the groups’ positions to find

that Plaintiffs were entitled to a preliminary injunction. See PI Op., Doc 112-1. For

instance, after recounting that known risks of transitioning treatments “include loss

of fertility and sexual function,” the Court reasoned: “Nevertheless, WPATH recog-

nizes transitioning medications as established medical treatments and publishes a set

of guidelines for treating gender dysphoria in minors with these medications.” Id. at

3-4. It continued: “The American Medical Association, the American Pediatric So-

ciety, the American Psychiatric Association, the Association of American Medical

Colleges, and at least eighteen additional major medical association endorse these

guidelines as evidence-based methods for treating gender dysphoria in minors.” Id.

      Although Defendants respectfully disagree with the Court’s conclusion, under

the legal standard the Court preliminarily adopted, the position of these medical in-

terest groups is central to Plaintiffs’ case. Defendants are thus entitled to probe the

groups’ positions. How did those groups come to their conclusions? Do the positions

represent the considered view of membership, or only of carefully “stacked” com-

mittees? What process did they use to determine who would have input, and who

would not? Did the groups conduct systematic examinations of the scientific litera-

ture, or did they cherry-pick studies? In short: Is there evidence indicating that the

alleged “consensus” is not actually based on best scientific practices but, at least in

part, on ideology, self-interest, organizational politicking, or other considerations?



                                          3
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 11 of 44




      Based on public reporting, there is such evidence—or at the very least, there

is enough smoke to raise the serious prospect of fire. See infra 10-18. Accordingly,

Defendants sent targeted Rule 45 subpoenas to the three primary interest groups

Plaintiffs, the United States, and the other medical interest groups rely on: AAP,

WPATH, and the Endocrine Society. Defendants then engaged in extensive meet-

and-confer phone calls with counsel for these organizations and, based on counsel’s

representations, agreed to withdraw a number of requests to alleviate concerns about

burdensomeness. Defendants also offered to work with the groups to identify proper

custodians and search terms to enable production of the relevant information De-

fendants need to litigate this case under the standards advanced by Plaintiffs and

preliminarily adopted by this Court. The interest groups refused and moved to quash.

      This Court should deny the interest groups’ motion and order them to produce

the documents Defendants have requested. What matters is not, as the groups repeat-

edly suggest, that they filed an amicus brief in this case. Instead, what makes the

requested material highly relevant and discoverable is that Plaintiffs and the United

States have made these groups’ positions a centerpiece of this litigation. Again, De-

fendants think the groups’ views should matter as little here as they did in Dobbs.

But if these interest groups’ positions determine the constitutional rule—or are rele-

vant to that question—Defendants must be able to probe the strength and soundness

of those positions. If the Court does not grant Defendants that relief, then to avoid



                                          4
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 12 of 44




undue prejudice to Defendants, the Court should grant Defendants’ contemporane-

ously filed motion in limine and exclude all evidence based on the positions of AAP,

WPATH, and the Endocrine Society.

                                 BACKGROUND

      A.     Plaintiffs and the United States Told This Court to Defer to
             the Authority of their Preferred Medical Interest Groups.

      Plaintiffs and the United States challenge Alabama’s law on the basis that it

regulates “medically necessary” care in a manner that violates the Fourteenth

Amendment. See Pls’ Compl., Doc. 159 ¶¶38, 41, 72, 82, 83, 98, 99, 105, 106; U.S.

Compl., Doc. 92 ¶¶4, 6, 7, 8, 9, 45, 48, 52, 54. To show that transitioning treatments

for minors are “medically necessary,” they have relied primarily on the imprimatur

of medical interest groups, particularly AAP, WPATH, and the Endocrine Society.

      Take the United States’ Complaint. Nearly every paragraph of the factual al-

legations regarding the “standard of care for treating transgender youth” begins with

an appeal to the authority of one of these organizations. See U.S. Compl., Doc. 92

¶28 (“According to clinical guidelines from the World Professional Association for

Transgender Health….”); id. ¶29 (“The American Academy of Pediatrics agrees that

gender-affirming care is safe, effective, and medically necessary….”); id. ¶35 (“Un-

der the Endocrine Society’s clinical guidelines….”); id. ¶¶30, 32-37 (similar).

      Plaintiffs likewise relied on the interest groups, alleging in their Complaint

that WPATH and the Endocrine Society have promulgated standards of care that are


                                          5
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 13 of 44




followed by “[t]he American Medical Association, the American Academy of Pedi-

atrics, the American Association of Child and Adolescent Psychiatrists, the Pediatric

Endocrine Society, the American Psychiatric Association, the American Psycholog-

ical Association.” Pls’ Compl., Doc. 159 ¶¶29-31. They expressly tied their pro-

posed constitutional standard to the position of the interest groups in their prelimi-

nary injunction motion. Pls’ PI Mot., Doc. 8 at 29; see id. at 21, 24, 36. And they

dismissed concerns about the state of pediatric gender care by invoking the organi-

zations: “[G]ender clinics, including the one at UAB, expressly follow the guidelines

published by WPATH (2012), the Endocrine Society, and other major, reputable

medical organizations.” Pls’ PI Reply, Doc. 89 at 23.

       Plaintiffs’ experts were also reliant on these organizations’ views. Dr. Haw-

kins, herself a member of WPATH, PI Tr. 163, testified that puberty blockers and

cross-sex hormones are “effective medications” for transgender adolescents “based

on the guidelines from the leading mental health and medical experts.” Id. at 25.

When Plaintiffs’ counsel asked Dr. Hawkins to “talk about the guidance by the med-

ical leaders,” Dr. Hawkins rattled off “the American Academy of Pediatrics, the

American Medical Association, the American Psychiatric Association, [and the]

American Psychological Association,” before identifying the “WPATH standards of



3
 All references to the preliminary injunction hearing are to the continuously paginated transcript,
Docs. 104 & 105.

                                                6
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 14 of 44




care” as the “set of guidelines, recommendations for comprehensive care for

transgender individuals.” Id. at 27. So much attention did Dr. Hawkins pay to what

the medical organizations said that she seemed unaware of what the scientific liter-

ature said—including that, for example, the UK’s National Institute for Health and

Care Excellence had published major, systematic literature reviews examining the

safety and efficacy of puberty blockers and cross-sex hormones for minors. Id. at 39.

She defended her lack of knowledge: “I rely on the national medical organizations

to review and synthesize the medical findings.” Id. at 39; see id. at 77 (Q.“[Y]our

basis for saying” “that without the medical interventions, suicide rates go up” “is

just that you rely on the professionals?” A. “The professional organizations, yes.”).

      As for Dr. Ladinsky (a member of AAP), when asked to explain the “standards

that provide guidance for treating physicians,” she immediately invoked the interest

groups: “[S]tandards of care by an international body of experts known as WPATH

… has a lot of guidance.… The Endocrine Society’s guidelines, again, consensus

bodies of high-level endocrinology experts, digesting and continually looking at lit-

erature to prescribe the guidelines, all of this is again incorporated into a policy state-

ment by our organization, the American Academy of Pediatrics.” Id. at 97-98. Spe-

cifically addressing AAP’s 2018 policy statement, Dr. Ladinsky testified that AAP

“is continually vetting the latest, most well-validated and most important research to

impact the care of kids[,] issuing guidelines and recommendations along those



                                            7
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 15 of 44




lines.” PI Tr. 99. These guidelines, Dr. Ladinsky assured the Court, “provide excel-

lent guardrails for the care that we provide.” Id. at 98.

      Dr. Antommaria, another AAP member, also relied on the interest groups,

explaining that the Endocrine Society and WPATH have released “clinical practice

guideline[s]” that are trustworthy because they were developed “using systematic

processes to select and review scientific evidence.” Antommaria Decl., Doc. 78-13

¶¶10, 34, 35; see also PI Tr. 220. So did Dr. Rosenthal, a former board member of

the Endocrine Society, current board member of WPATH, and contributing author

to both sets of standards. See Rosenthal Decl., Doc. 78-11 ¶¶8, 27, 29, 30.

      The interest groups themselves also urged the Court to rely on their authority,

representing that their views constitute “important expertise.” Interest Groups’ Ami-

cus Br., Doc. 91-1 at 12. They argued that “the respected professional organizations

participating here as amici” represent the “widely accepted recommendation of the

medical community” in favor of transitioning treatments. Id. at 13 (footnotes omit-

ted). To support their claim, the organizations cited … themselves. E.g., id. at 16 &

n.16 (citing Endocrine Society position statement). Then they discussed their pur-

portedly “established, evidence-based clinical guidelines.” Id. at 16-27.

      Plaintiffs’ counsel repeated the theme in closing argument. He argued that

transitioning treatments are “endorsed by every major association in the United

States.” PI Tr. 371. And he sought to explain away the response of European



                                           8
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 16 of 44




countries severely restricting access to pediatric transitioning treatments as the result

of things having gotten “a little lax in Europe.” Id. at 375. In contrast, he said, clinics

in the United States “have these professional organizations that are providing this

sort of oversight.” Id. “We don’t see that in Europe.” Id. Putting aside that WPATH

is the World Professional Association for Transgender Health whose standards were

used in Europe until healthcare authorities there began viewing them as too lax,4

Plaintiffs’ message was clear: It is the medical interest groups that establish the

standard of care in America, and it is to them the Court should defer.

       B.      This Court Relied on the Medical Interest Groups When It
               Granted a Preliminary Injunction.

       The Court agreed with Plaintiffs’ framing and relied on the opinions of the

medical interest groups to preliminarily enjoin enforcement of Alabama’s law. For

example, although the Court acknowledged the risks of transitioning treatments, the

Court deemed those treatments “medically accepted” in part because “WPATH rec-

ognizes transitioning medications as established medical treatments and publishes a

set of guidelines for treating gender dysphoria in minors with these medications.” PI


4
  We know that European countries like the UK, Sweden, and Finland are not following the
WPATH standards because WPATH recently expressed “major reservations” over NHS England’s
service specifications for transitioning minors. The purported problems? In contrast to the WPATH
standards, the new specifications “severely limit[] access to puberty suppression,” “do[] not de-
scribe any process for provision of estrogen or testosterone therapies for older adolescents,” and
“reassert[]” the “‘gatekeeping model’ of access to gender affirming care.” WPATH et al., State-
ment Regarding Interim Service Specification for the Specialist Service for Children and Young
People with Gender Dysphoria (Phase 1 Providers) by NHS England (Nov. 25, 2022),
https://perma.cc/VTM7-LEE6.

                                                9
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 17 of 44




Op., Doc. 112-1 at 3-4. It further noted that AAP and other “major medical associa-

tion endorse these guidelines as evidence-based methods for treating gender dyspho-

ria in minors.” Id. (citing amicus brief filed by the medical interest groups). Later in

its opinion, the Court adopted Plaintiffs’ framing of their constitutional arguments,

finding that “Parent Plaintiffs are substantially likely to show that they have a fun-

damental right to treat their children with transitioning medications subject to medi-

cally accepted standards” because “the uncontradicted record evidence is that at

least twenty-two major medical associations in the United States endorse transition-

ing medications.” Id. at 16-17 (emphasis added); see id. at 19, 24 (similar).

      C.     Evidence Suggests That the “Consensus” Offered by
             Plaintiffs and Relied on by the Court May Not Be a True,
             Scientifically Driven Consensus.

      Given the prominent role the medical interest groups played at the preliminary

injunction phase, Defendants noted at the close of the hearing that “a fair amount of

discovery” would be needed to “assess[] the credibility of these institutions.” PI Tr.

413. Indeed, recent reporting has raised questions about nearly every assertion made

about the reliability and trustworthiness of the interest groups Plaintiffs put at issue.

      Start with AAP. It would be one thing if its position statement truly reflected

either the state of the science or its membership’s views. Instead, the organization

has apparently moved to suppress its membership’s desire for an updated statement

that accurately reflects the science. A recent resolution “submitted to the AAP’s



                                           10
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 18 of 44




annual leadership forum to inform the academy’s 67,000 members about the grow-

ing international skepticism of pediatric gender transition” was quashed by “the

AAP’s leadership” “[e]ven though the resolution was in the top five of interest based

on votes by members cast.” Ex. 1, Julia Mason & Leor Sapir, The American Acad-

emy of Pediatrics’ Dubious Transgender Science, WALL ST. JOURNAL (Apr. 17,

2022). AAP “decried the resolution as transphobic and noted that only 57 members

out of 67,000 had endorsed it,” but allowed a motion supporting “affirming” inter-

ventions to go through the next week with only 53 members supporting it. Id. As

AAP member Dr. Julia Mason concluded, “The AAP has stifled debate on how best

to treat youth in distress over their bodies, shut down efforts by critics to present

better scientific approaches at conferences, used technicalities to suppress resolu-

tions to bring it into line with better-informed European countries, and put its thumb

on the scale … in favor of a shoddy but politically correct research agenda.” Id.

      Other reporting supports Dr. Mason’s concerns. According to one report, the

2018 AAP statement—heavily relied on by Dr. Ladinsky, PI Tr. 99—was “written

by a single doctor,” who “‘conceptualized,’ ‘drafted,’ ‘reviewed,’ ‘revised,’ and ‘ap-

proved’ the manuscript himself.” See Ex. 2, Aaron Sibarium, The Hijacking of Pe-

diatric Medicine, THE FREE PRESS (Dec. 7, 2022). “By 2019,” the position statement

“was eliciting quiet concern among rank-and-file doctors affiliated with the AAP.”

Id. But “[r]ather than promoting dialogue or compromise,” AAP leadership “sought



                                         11
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 19 of 44




to stifle dissent,” “urg[ing] the Department of Justice to investigate critics of ‘gender

affirming care,’ arguing that they were spreading ‘disinformation’ that puts lives at

risk,” “barr[ing] the Society for Evidence-based Gender Medicine, which advocates

the watchful waiting approach, from being an exhibitor at its national conference,”

and “block[ing] a resolution calling for a review of the AAP’s current guidance on

puberty blockers.” Id.5

       Things are, if anything, only worse at WPATH. As Dr. Stephen Levine, a

psychiatrist who “helped to author the fifth version of the [WPATH] Standards of

Care” has testified, “WPATH aspires to be both a scientific organization and an ad-

vocacy group for the transgendered,” and “[t]hese aspirations sometimes conflict.”

Kosilek v. Spencer, 774 F.3d 63, 78 (1st Cir. 2014). According to Dr. Levine,

“[s]kepticism and strong alternative views are not well tolerated” at WPATH and

“have been known to be greeted with antipathy.” Id. (alteration omitted). This and

other testimony led the First and Fifth Circuits—and, until recently, the U.S. Depart-

ment of Health and Human Services—to find that “the WPATH Standards of Care

reflect not consensus, but merely one side in a sharply contested medical debate.”6


5
  The Economist also recently reported on AAP’s suppression of dissenting views, highlighting “a
growing number of doctors who are starting to push back against the apparent medical consensus
on transgender issues” who “accuse the academy of trying to suppress debate.” Ex. 3, Questioning
America’s Approach to Transgender Health Care, THE ECONOMIST (Jul. 28, 2022).
6
  Gibson v. Collier, 920 F.3d 212, 221 (5th Cir. 2019); see Kosilek, 774 F.3d at 90; Nondiscrimi-
nation in Health and Health Education Programs or Activities, Delegation of Authority, 85 Fed.
Reg. 37160, 37198 (June 19, 2020) (warning of “rel[ying] excessively on the conclusions of an
advocacy group (WPATH) rather than on independent scientific fact-finding”).

                                               12
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 20 of 44




      Dr. Ken Zucker was one such professional “greeted with antipathy” by activ-

ists at WPATH and its U.S. affiliate, USPATH, for his alternative views. Zucker is

“a psychologist and prominent researcher who directed a gender clinic in Toronto”

and headed the committee that developed the American Psychiatric Association’s

criteria for “gender dysphoria” in the DSM-5. Ex. 4, Emily Bazelon, The Battle Over

Gender Therapy, N.Y. TIMES MAGAZINE (June 15, 2022). The 2012 WPATH Stand-

ards of Care—SOC 7—“cited his work 15 times.” Id. In his nearly forty years of

research, Zucker discovered “that most young children who came to his clinic

stopped identifying as another gender as they got older.” Id. Instead, “[m]any of

them would go on to come out as gay or lesbian or bisexual, suggesting previous

discomfort with their sexuality, or lack of acceptance.” Id. As a result, Zucker be-

came concerned that socially transitioning children could entrench gender dysphoria

that would otherwise resolve.

      Zucker’s position was not popular with activists at WPATH. In 2017, when

USPATH hosted its inaugural conference, Zucker submitted research, “his research

passed the peer review process,” and he was invited to present. Ex. 5, Erica Ciszek

et al., Discursive Stickiness: Affective Institutional Texts and Activist Resistance, 10

PUBLIC RELATIONS INQUIRY, No. 3, pp. 295-310 (2021), at 302. When his panel dis-

cussion began, though, protestors “used their voices to drown out Zucker’s presen-

tation.” Id. “That evening, at a meeting with the conference leaders, a group of



                                          13
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 21 of 44




advocates led by transgender women of color read aloud a statement in which they

said the ‘entire institution of WPATH’ was ‘violently exclusionary’ because it ‘re-

mains grounded in cis-normativity and trans exclusion.’” Ex. 4, Bazelon, supra.

“Activists demanded Zucker’s symposium be cancelled and for the WPATH Exec-

utive Board to provide an explanation and apology for his presence.” Ex. 5, Ciszek,

supra, at 302. “Additionally, activists demanded” “that gender transgressive per-

sons” “be given seats on WPATH committees, including the scientific committees

that decide which academic papers are accepted for conferences.” Id; see Ex. 6, Vid-

eorecording of meeting, https://www.youtube.com/watch?v=rfgG5TaCzsk.

      The disruption worked. “Th[e] uprising resulted in the cancellation of

Zucker’s panels,” and “[c]onference organizers and board members publicly apolo-

gized for Zucker’s presence at the conference and their part in perpetuating the mis-

treatment of and violence against transgender women of color in particular” by al-

lowing Zucker to attend. Ex. 5, Ciszek, supra, at 304. They also “promised to incor-

porate transgender women of color into each level of WPATH’s organization.” Id.

The public apology ended with the activist protesters on stage, surrounded by “sup-

porters[] and allies,” chanting “‘Trans Power!’” Id. “After th[e] controversy, other

providers were on notice that Zucker’s methods were no longer acceptable,” and

“[h]is approach was likened to conversion therapy.” Ex. 4, Bazelon, supra.




                                         14
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 22 of 44




      A few years later, in the fall of 2021, a number of articles by and about three

WPATH leaders exposed further fissures in the organization. Dr. Marci Bowers, a

world-renowned vaginoplasty specialist who currently serves as president of

WPATH; Dr. Erica Anderson, a clinical psychologist and a former president of

USPATH; and Dr. Laura Edwards-Leeper, the founding psychologist at the first hos-

pital-based children’s gender clinic in the United States, voiced their concern that

medical providers in America were transitioning minors without proper gender ex-

ploratory psychotherapy and other safeguards. See, e.g., Ex. 7, Abigail Shrier, Top

Trans Doctors Blow the Whistle on “Sloppy” Care, THE FREE PRESS (Oct. 4, 2021);

Ex. 8, Laura Edwards-Leeper & Erica Anderson, The Mental Health Establishment

is Failing Trans Kids, WASH. POST (Nov. 24, 2021).

      When Anderson, Bowers, and Edwards-Leeper went public with their con-

cerns, they knew their colleagues at WPATH would not welcome the open discus-

sion. See Ex. 7, Shrier, supra. (Anderson: “[T]his is going to earn me a lot of criti-

cism from some colleagues, but … I’m worried that decisions will be made that will

later be regretted by those making them.”); id. (Bowers: “There are definitely people

who are trying to keep out anyone who doesn’t absolutely buy the party line that

everything should be affirming, and that there’s no room for dissent.”). Sure enough,

in October, USPATH and WPATH released a joint statement condemning “the use

of the lay press … as a forum for the scientific debate” over “the use of pubertal



                                         15
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 23 of 44




delay and hormone therapy for transgender and gender diverse youth.” See Ex. 9,

Joint Letter from USPATH and WPATH (Oct. 12, 2022), https://perma.cc/X7ZN-

G6FS. “In early November, the board of USPATH privately censured Anderson,

who served as a board member. In December, the board imposed a 30-day morato-

rium on speaking to the press for all board members. That month, Anderson re-

signed.” Ex. 4, Bazelon, supra.

      That same month—December 2021—WPATH released a draft of the updated

8th edition of its Standards of Care (SOC 8). In addition to adding a controversial

“Eunuch” chapter and making other changes,7 SOC 8 initially retained (some) age

requirements for transitioning minors—14 years old for cross-sex hormones (down

from 16 in SOC 7), 15 for mastectomies, “and vaginoplasty and hysterectomy at 17.”

Ex. 11, Lisa Selin Davis, Kid Gender Guidelines Not Driven by Science, N.Y. POST

(Sept. 29, 2022). Though SOC 8 had been in development for years, WPATH issued

a “correction” shortly after publication removing the minimum age requirements.

See Correction, 23 INT’L J.           OF   TRANSGENDER HEALTH S259 (2022),

https://bit.ly/3qSqC9b. Why? According to Dr. Tishelman, lead author of the chap-

ter, it was to “bridge th[e] considerations” regarding the need for insurance coverage

for the surgeries with the desire to ensure that doctors would not be held legally



7
 See Ex. 10, Genevieve Gluck, Top Trans Medical Association Collaborated With Castration,
Child Abuse Fetishists, REDUXX (May 17, 2022).

                                           16
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 24 of 44




liable for malpractice if they deviated from the standards. Ex. 12, Videorecording of

Dr. Tishelman’s WPATH presentation, https://twitter.com/SwipeWright/sta-

tus/1571999221401948161.8 Plus, according to WPATH’s president, to “propose”

surgeries at defined “younger age[s]” would require “a better political climate.” Ex.

13, Azeen Ghorayshi, More Trans Teens Are Choosing ‘Top Surgery,’ N.Y. TIMES

(Sept. 26, 2022), https://perma.cc/9786-V27T. Tuning supposed “Standards of

Care” so as to minimize liability for harm done to minors (or to reflect the political

winds) is not disinterested science.

       Turning to Endocrine Society, while there has been less public reporting about

the organization, many of the concerns raised about WPATH apply to the Endocrine

Society’s practice guidelines. WPATH is a co-sponsor of the Endocrine Society’s

practice guidelines, after all, see Doc. 78-14 at 1, and of the nine listed authors of

those guidelines, it appears that only one (M. Hassan Murad) is not publicly affili-

ated with WPATH.9 And, as is true with the authors of the WPATH and AAP




8
  WPATH complained that Dr. Tishelman’s comments were “taken out of context, twisted and
used to spread hate and lies on social media.” WPATH, WPATH Condemns Dangerous Misinfor-
mation (Sept. 23, 2022), https://perma.cc/QL62-7WP9. Of course, any lack of context in the video
simply underscores the need for discovery.
9
     See    generally     Aaron      Devor,    WPATH,       History   of    the    Association,
https://www.wpath.org/about/history (last accessed Jan. 17, 2023).

                                              17
     Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 25 of 44




standards, all of them make their livings performing the treatments blessed by the

standards they write, raising concerns about financial conflicts of interest.10

                                            ***

       These episodes are necessarily incomplete, dependent as they are on public

reporting and leaks from the medical organizations and practitioners. But they high-

light the need for more, and more complete, information. What is publicly available

raises serious questions about the narrative Plaintiffs, the United States, and the med-

ical interest groups told this Court about a reliable medical consensus.

       D.     Defendants Propounded Subpoenas to AAP, WPATH, and
              the Endocrine Society, and Attempted to Work in Good
              Faith to Alleviate Concerns About Burdensomeness.

       Given these (and other) worrisome accounts and the need for fuller, more ac-

curate information about the interest groups Plaintiffs and the United States built

their case around, Defendants propounded third-party subpoenas on AAP, WPATH,

and the Endocrine Society. See Doc. 208-2 at 7-18 (AAP), 56-70 (WPATH), 129-

43 (Endocrine Society). After months of phone calls with counsel for the interest

groups, Defendants offered to narrow their requests substantially to try to alleviate

the alleged burden of production, provided that the organizations “work[ed] [with




10
   As one physician at Vanderbilt University Medical Center’s Clinic for Transgender Health put
it, transitioning services are a “big money maker.” See Ex. 14, Amanda Prestigiacomo, ‘Huge
Money Maker’: Video Reveals Vanderbilt’s Shocking Gender ‘Care,’ Threats Against Dissenting
Doctors, THE DAILYWIRE (Sept. 20, 2022).

                                              18
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 26 of 44




Defendants] in good faith to provide responsive documents.” Doc. 208-2 at 190. The

revised subpoenas sought documents surrounding:

          The process AAP, WPATH, and the Endocrine Society used to create,
           review, and adopt their position statements, treatment guidelines, and
           standards of care regarding transitioning treatments (AAP RFPs 11, 13-
           15, 18, 22; WPATH RFPs 1-12, 14; ES RFPs 1-10, 12, 26);

          Efforts by AAP’s membership to update the group’s position statement
           on transitioning treatments (AAP RFPs 1-8);

          The groups’ consideration, if any, of the UK’s NICE literature reviews,
           the Swedish and French statements regarding transitioning care for mi-
           nors, and certain other literature related to transitioning minors (AAP
           RFP 23; WPATH RFPs 15-16, 41, 47; ES RFP 27);

          The organizations’ reaction to members’ concerns about pediatric tran-
           sitioning care in America (WPATH RFPs 18-21; ES RFPs 13-14);

          The groups’ involvement, if any, in the creation of standards of care or
           diagnostic standards for other organizations related to pediatric transi-
           tioning (WPATH RFPs 23, 31-32; ES RFPs 15-17);

          USPATH’s cancellation of Dr. Zucker’s talk (WPATH RFP 23);

          The groups’ review of the literature related to transitioning treatments
           for minors (WPATH RFPs 33-35, 43; ES RFPs 18-24);

          The organizations’ knowledge of pediatric transitioning treatments in
           Alabama (WPATH RFP 44; ES RFP 28).

See Doc. 208-2 at 7-18, 56-70, 129-43, 190.

      The groups refused Defendants’ offer, claiming that the document requests

are “irrelevant to any claims or defendants in this case.” Doc. 208-2 at 187. On




                                        19
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 27 of 44




December 27, 2022, the groups moved to quash the subpoenas “in their entirety.” Jt.

Mot. to Quash, Doc. 208 at 3 (“Mot.”).

                               LEGAL STANDARD

      Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain discov-

ery regarding any nonprivileged matter that is relevant to any party’s claim or de-

fense and proportional to the needs of the case.” Relevant considerations include

“the importance of the issues at stake in the action, the amount in controversy, the

parties’ relative access to relevant information, the parties’ resources, the importance

of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).

      Evidence is relevant if it has “any tendency to make a fact more or less prob-

able than it would be without the evidence, and the fact is of consequence in deter-

mining the action.” Fed. R. Evid. 401. In the discovery context, relevance is “con-

strued broadly to encompass any matter that bears on, or that reasonably could lead

to other matters that could bear on, any issue that is or may be in the case,” no matter

if the material itself would be admissible. Oppenheimer Fund, Inc. v. Sanders, 437

U.S. 340, 351 (1978). The scope of discovery is broad “in order to provide parties

with information essential to the proper litigation of all relevant facts.” Coker v.

Duke & Co., Inc., 177 F.R.D. 682, 685 (M.D. Ala. 1998) (citations omitted).




                                          20
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 28 of 44




        “The scope of discovery that may be sought through a Rule 45 non-party sub-

poena is the same permissible scope under [Rule] 26(b).” Stevenson v. Johnson Bros

Corp., No. 2:18-CV-1702-RDP, 2019 WL 1083781, at *2 (N.D. Ala. Mar. 7, 2019).

“[N]on-parties may not use Rule 45 to escape the required production of relevant

documents sought by a party under a subpoena.” In re Blue Cross Blue Shield Anti-

trust Litig., No. 2:13-CV-20000-RDP, 2018 WL 11425554, at *1 (N.D. Ala. Oct.

24, 2018). Thus, “[t]he party resisting production of information bears the burden of

establishing lack of relevancy or undue burden in supplying the requested infor-

mation.” Rosen v. Provident Life & Accident Ins. Co., 308 F.R.D. 670, 680 (N.D.

Ala. 2015) (cleaned up); see 9A Wright & Miller, Federal Practice & Procedure

§ 2459 (3d ed.). This burden is “heavy.” Goodman-Gable-Gould Co. v. Tiara

Condo. Ass’n, 2007 WL 9701863, at *3 (S.D. Fla. Mar. 30, 2007) (collecting cases).

        The Rules “strongly favor full discovery whenever possible.” Moore v. Ar-

mour Pharm. Co., 927 F.2d 1194, 1197 (11th Cir. 1991). “Where there is a doubt

over relevancy, the court should still permit discovery.” Coker, 177 F.R.D. at 685.

                                   ARGUMENT

 I.        The Requested Information Is Highly Relevant Under Plaintiffs’ And
           The United States’ Theory.

        As explained in detail above, a central allegation of both Plaintiffs and the

United States is that the Act denies “necessary” medical care that is (as the United

States puts it) “widely recognized within the medical community.” U.S. Compl.,


                                          21
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 29 of 44




Doc. 92 ¶54. Though Defendants argue that any alleged consensus is all but irrele-

vant to the constitutional inquiry, this Court disagreed in its preliminary injunction

order. And regardless of Defendants’ arguments, this claim about a consensus re-

mains a centerpiece of Plaintiffs’ and the United States’ cases. Supra 5-9. As the

interest groups concede, “[t]he relevance of information sought in discovery depends

on the claims asserted in the underlying action.” Mot. 11 (quoting Jordan v. Comm’r,

Miss. Dep’t of Corr., 947 F.3d 1322, 1329 (11th Cir. 2020)). Because Plaintiffs and

the United States depend on an alleged medical consensus, evidence pertaining to

the strength, soundness, and reliability of such a consensus is highly relevant.

      The interest groups make no effort to respond to this simple, obvious expla-

nation of relevance. Instead, over and over, they strain to make this discovery dispute

look like the separate dispute occasioned by the United States’ subpoenas on Eagle

Forum and Southeast Law Institute. But the two disputes could not be more different.

      First, the interest groups say that their guidelines “speak for themselves” and

are “‘the only thing everyone has voted on, agreed upon, and ultimately enacted’”—

so the “processes” and “motives” leading to those guidelines must be irrelevant.

Mot.12 (quoting Defendants’ arguments about the Act). The interest groups thus

compare themselves to a state legislature, noting Defendants’ arguments that Ala-

bama legislators’ private decisionmaking processes are irrelevant. Id.




                                          22
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 30 of 44




      This makes no sense. These private medical interest groups are not legisla-

tures, and they have no similar presumption of good faith. E.g., League of Women

Voters of Fla., Inc. v. Fla. Sec’y of State, 32 F.4th 1363, 1373 (11th Cir. 2022). Quite

the opposite: extensive public evidence shows that the “processes” and “motives” of

the interest groups in devising their recommendations are highly suspect. Supra 10-

18. The organizations’ circular assertion that the recommendations “reflect the con-

sensus view of the organizations that publish them” (Mot. 12) simply begs the ques-

tion. How did that “consensus” come to be, and does it reflect the best scientific

evidence or something else (like, say, the “policy views” of these self-described “ad-

vocacy organizations,” Mot. 3)?

      In other words, the evidence sought here is nothing like the evidence the

United States demanded from Eagle Forum and Southeast Law Institute. Defendants

are not asking for communications with legislators to unearth imagined legislative

motives. Those motives are, as Defendants have always said, see Doc. 157, irrele-

vant to what the law is. Instead, Defendants seek this information because Plaintiffs

and the United States have made the existence of a medical consensus a crucial ele-

ment of the case. Under Plaintiffs’ and the United States’ views, that consensus helps

prove that the Act cannot satisfy constitutional scrutiny. If that alleged consensus is

not as it seems—if it reflects not just science or medicine but something else—such

evidence is patently relevant to the claims here. Similar cases routinely compel



                                          23
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 31 of 44




discovery. E.g., Klay v. All Defendants, 425 F.3d 977, 986 (11th Cir. 2005) (explain-

ing that because the plaintiffs “relied upon [the American Medical Association’s]

data in the prosecution of their claims for relief,” the court properly compelled AMA

to provide the data “vital to” the defendants’ case); In re Nat’l Hockey League Play-

ers’ Concussion Inj. Litig., No. MDL142551SRNBRT, 2019 WL 5288281, at *2 (D.

Minn. Oct. 18, 2019) (noting in case about concussions in hockey that the plaintiffs

“obtained discovery and depositions from relevant third parties, including NHL

member clubs, the NHL Players’ Association and medical professionals advising the

Association, as well as third-party medical institutions and affiliated researchers”).

      Repeatedly, the interest groups highlight Defendants’ argument that “publicly

available information” is what matters in this case. Mot. 12, 13. But that argument

was made in the context of the United States’ efforts to uncover the hidden motives

of state legislators, which are irrelevant to the case (thus making “publicly available

information” the only thing that mattered). And to the extent the interest groups are

referring to Defendants’ broader argument about the appropriate constitutional rule

being decided without relying on the views of private interest groups, this Court

rejected that argument at the preliminary injunction stage. Supra 9-10. Unless the

Court grants Defendants’ motion to exclude, the evidence is highly relevant.

      Discovery encompasses “any nonprivileged matter that is relevant to any

party’s claim or defense,” Fed. R. Civ. P. 26(b)(1), so Defendants are entitled to



                                          24
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 32 of 44




discovery if only because Plaintiffs and the United States have made the medical

consensus a centerpiece of their claims. When every aspect of their case—and each

of their experts—relies on the purported medical consensus, supra 5-9, a proper ad-

judication requires probing the reliability and credibility of that consensus. Defend-

ants are not limited to making broad defenses (e.g., that the purported medical con-

sensus is irrelevant), but may also offer narrower defenses (e.g., that the purported

consensus is not only irrelevant but suspect, the product of quashing dissent and

prioritizing ideology or financial interest over science). Neither Defendants nor this

Court should be forced to presume that the purported “consensus” reflects some uni-

versal truth of science, particularly when there is so much evidence to the contrary.

Supra 10-18. Plaintiffs and the United States have put that “consensus” at issue, so

Defendants are entitled to discovery to contest the assertion.

      AAP appears to offer its own argument, stating that it “does not generate or

publish clinical guidelines regarding gender-affirming care.” Mot. 12 n.3. But Plain-

tiffs’ witnesses testified extensively that they relied on AAP’s policy statement, so

whatever that document is labeled, its development is highly relevant. See supra 7;

see also U.S. Compl., Doc. 92 ¶¶29, 30, 32. According to the interest groups, “[t]he

widely accepted recommendation of the medical community, including that of the

[AAP], is that the standard of care for treating gender dysphoria is ‘gender-affirming

care.’” Doc. 91-1 at 13. Again, the credibility of this recommendation is relevant.



                                         25
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 33 of 44




        The interest groups try to change the subject, pretending that they have re-

ceived these requests only because they filed amicus briefs. Mot. 13-14. Nonsense.

What Defendants care about is not that the interest groups filed amicus briefs, but

that Plaintiffs offer these groups’ opinions as the constitutional standard that governs

how the State may legislate to protect the people. Plaintiffs and the United States

have treated the interest groups not as “friends of the court,” but as arbiters of what

medical procedures the State may regulate. That is why the interest groups received

the requests for information. As explained in Defendants’ motion to exclude, if this

Court were to treat the interest groups merely as amici and exclude evidence based

on their self-interested advocacy positions, Defendants would be more than happy

to withdraw these requests. But as long as Plaintiffs and the United States view these

interest groups’ positions as stating some sort of factual scientific consensus relevant

to the constitutional questions, Defendants’ requests seek highly relevant infor-

mation. See Klay, 425 F.3d at 986.

II.        The Tailored Requests Do Not Impose An Undue Burden.

        Because of the great relevance of the information requested, the interest

groups have a heavy burden to show that they may nonetheless withhold evidence

critical to a proper adjudication of this case. The presumption is that “the public has

a right to every man’s evidence.” Adkins v. Christie, 488 F.3d 1324, 1328 (11th Cir.

2007) (ellipses omitted) (quoting Univ. of Pa. v. EEOC, 493 U.S. 182, 189 (1990)).



                                          26
      Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 34 of 44




Third parties are not “immune from the burdens and costs of discovery,” and “cannot

escape the duty to provide their evidence relevant to the controversy.” In re Blue

Cross Blue Shield, 2018 WL 11425554, at *1. “The public has the right to their

evidence, even if that imposes on them some burdens and expenses.” Id. “A mere

showing of burden and expense is not enough.” Rowlin v. Ala. Dep’t of Pub. Safety,

200 F.R.D. 459, 461 (M.D. Ala. 2001). Instead, the “resisting party must make a

particular and specific demonstration of fact,” “show[ing] specifically how a discov-

ery request is overly broad, burdensome or oppressive.” Coker, 177 F.R.D. at 686.

         Here, the limited burdens from these tailored requests for highly relevant in-

formation are not “undue.” Fed. R. Civ. P. 45(d)(3)(A)(iv). The interest groups make

no effort to show how any specific request imposes particular burdens, as they must

to prevail. Instead, they offer a blanket objection to answering any request, asking

the Court to quash the subpoenas “in their entirety.” Mot. 3. That is insufficient.

         Once again, the major medical interest groups start off by comparing them-

selves to Eagle Forum and Southeast Law Institute, with “volunteer staff and pro

bono counsel” being told to “parse through voluminous records.” Mot. 15. Once

again, it is hard to take this comparison seriously. The AAP has revenues in excess

of $116 million.11 Contra Doc. 208-3 ¶12 (asserting that AAP has “limited re-

sources”). The Endocrine Society appears to have revenues in excess of $28


11
     See Financial Statements, June 30, 2021 and 2020, AAP, https://perma.cc/Z56R-GK2S .

                                               27
     Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 35 of 44




million.12 It is not necessary for these professional interest groups “to rely exten-

sively on pro bono counsel.” Mot. 17.

       The interest groups offer no specifics of why the burden of complying with

the requests would be undue. They specifically identify neither any requests that

they consider irrelevant nor any requests that they consider burdensome.13 They

merely complain that they would have “to collect and review countless documents

scattered across numerous directories and individuals.” Mot. 15. But this generalized

description of modern e-discovery does not suffice. As Wright & Miller explains, a

subpoena need not “be quashed because the documents themselves are voluminous

and cumbersome and significant difficulty and expense will be involved in produc-

ing them”: “[s]ubpoenas of this kind are inevitable in the type of highly complex

cases that are now common.” 9A Federal Practice & Procedure § 2459 (3d ed.).

Likewise, that the interest groups might need to hire attorneys and use staff time

(Mot. 16) is not an undue burden; that, along with shifting resources (id.), is always

involved in answering a subpoena. The declarations offered by the interest groups

contain no more detail and do not substantiate any undue burden.14 Moreover, they


12
   See PROPUBLICA, https://perma.cc/4XAN-BCMS (fiscal year 2020).
13
   And the Court should not “consider issues or arguments raised for the first in a reply, for to do
so deprives the non-movant of a fair opportunity to respond.” Distrib. Res. Mgmt., Inc. v. Peacock,
No. 2:12-CV-00188-SLB, 2012 WL 2930787, at *2 (N.D. Ala. July 13, 2012) (cleaned up).
14
   E.g., Doc. 208-3 ¶¶10, 12 (speculating as to what efforts might be required “[t]o the extent AAP
needed to” find certain documents or collect “ESI,” and emphasizing that “we have not obtained
quotes from discovery vendors for the work” the declarant speculated about); Doc. 208-4 ¶¶8-9
(similar, WPATH); Doc. 208-5 ¶¶8-10 (similar, Endocrine Society).

                                                28
       Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 36 of 44




are represented pro bono by highly competent counsel—a major international law

firm and a prominent Birmingham attorney. These interest groups’ receipt of free

legal counsel only reduces their burden of complying with these subpoenas.

         The different number of requests relative to the Eagle Forum subpoena (Mot.

16) is irrelevant. What matters is the relevance, specificity, and any burden of par-

ticular requests. Yet the interest groups offer no argument about the merits of any

specific requests, and Defendants repeatedly stated their willingness to continue to

work with the groups to reduce their perceived burden, including through the iden-

tification of custodians and search terms. The Court should thus disregard their blan-

ket assertion of burdensomeness and, given the great relevance of the requested doc-

uments to this litigation, deny the interest groups’ motion and order production. Pur-

ported inconvenience to the interest groups from answering any requests whatsoever

does not justify denying the parties and the Court of highly relevant evidence.

III.        The Tailored Requests Do Not Violate The First Amendment.

         The interest groups’ cursory First Amendment argument is meritless. “[T]he

party claiming a First Amendment privilege in an objection to a discovery request

bears the burden to make a prima facie showing of the privilege’s applicability.” In

re Motor Fuel Temperature Sales Pracs. Litig., 641 F.3d 470, 488 (10th Cir. 2011)

(collecting cases). The interest groups must therefore “show a reasonable probability

that the compelled disclosure will subject them to threats, harassment, or reprisals



                                          29
    Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 37 of 44




from either Government officials or private parties.” In re Grand Jury Proceeding,

842 F.2d 1229, 1236 (11th Cir. 1988); see id. at 1235 (“subjective fear of future

reprisal is insufficient”). “[A] party cannot meet its burden of proof with a blanket

assertion of privilege.” In re Grand Jury Subpoena, 831 F.2d 225, 228 (11th Cir.

1987). And “the First Amendment does not prohibit discovery into legitimate, rele-

vant matters, even when such discovery may produce a chilling effect.” United

States v. Duke Energy Corp., 218 F.R.D. 468, 473 (M.D.N.C. 2003).

      The interest groups fail at the outset to show that disclosure would impose a

cognizable burden on First Amendment rights. Unlike the subpoenas in the cases

cited by the interest groups, these subpoenas do not seek membership or donor lists,

much less involve any showing that the State is seeking to use the information to

publicize or prosecute individuals disclosed through discovery. Cf. NAACP v. Ala.

ex rel. Patterson, 357 U.S. 449, 463 (1958); United States v. Comley, 890 F.2d 539,

544 (1st Cir. 1989) (“[T]he magnitude of the first amendment concerns seems

less . . . where the extent of any disclosure of identities is speculative and is not the

specific objective of the government subpoena.”). And unlike the United States’ sub-

poenas to Eagle Forum and Southeast Law Institute, the focus of these subpoenas is

not protected (and irrelevant) communications with legislative representatives. In-

stead, the interest groups are merely asked to disclose certain highly relevant




                                           30
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 38 of 44




information regarding disputed claims in this case. They offer no adequate explana-

tion of how complying with the subpoenas restrains their free speech or association.

      Rather than making a particularized showing, the interest groups lodge a facial

attack to the federal discovery rules, objecting that any disclosure at all would have

“a chilling effect” and be “costly.” Mot. 18. If that were true, no discovery regarding

third-party communications could ever be taken. Because the interest groups make

no specific claims of privilege tied to any specific requests, their First Amendment

argument fails. See New York State Nat. Org. for Women v. Terry, 886 F.2d 1339,

1355 (2d Cir. 1989) (“Absent a more specific explanation of the consequences of

compliance with discovery, defendants failed to make the required initial showing

of potential First Amendment infringement.”); see also Herbert v. Lando, 441 U.S.

153, 176-77 (1979) (overruling First Amendment objection to discovery into the in-

ternal affairs of a news organization).

      Moreover, the interest groups’ arguments fail even on their own terms. At-

tempting to show a “chill,” the groups rely on purported “threats” “already received”

“due to their work on issues related to gender-affirming care.” Mot. 19. They claim

that “the mere issuance of the subpoenas” has also led to “fears.” Id. at 18. The or-

ganizations assert without explanation that responding to the subpoenas could “risk[]

amplifying [alleged] threats.” Id. at 19. Tellingly, the interest groups cite no caselaw

suggesting that Rules 26 and 45 are subject to a heckler’s veto or that relevant



                                          31
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 39 of 44




material can be withheld because of unrelated speech that was already occurring and

has no connection to production of the requested information. Every organization

subject to a subpoena could claim that its members might not want to participate

“due to fears of being embroiled in litigation.” Mot. 18. That cannot be enough to

avoid production of relevant material.

      Courts have rejected similar contentions that “a chilling effect” is shown be-

cause the party “will have to devote time and money to comply with the discovery

requests.” In re Motor Fuel, 641 F.3d at 490. As those courts have explained, the

theory that “the cost of compliance decreases the amount of available [organization]

funds” and is thus a chill fails as a matter of law: “no court has construed the First

Amendment privilege so broadly.” Id. “[T]aken to its logical extreme, this argument

would render all discovery prima facie privileged under the First Amendment be-

cause any time or money spent complying with a discovery request could conceiva-

bly be spent petitioning the government or engaging in other activities which are

protected under the First Amendment.” Id. That is not the law.

      The interest groups also claim that “the subpoenas have already discouraged

dialogue in a field that requires robust scientific debate and candid exchanges.” Mot.

18. That is ironic coming from groups that have repeatedly tried to stifle such debate

and now oppose turning over material that would shed light on those efforts. See




                                         32
     Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 40 of 44




supra 10-18. Regardless, and again, if a generalized chill were enough to quash a

subpoena, no discovery could ever occur. See Duke Energy, 218 F.R.D. at 473 n.5.

       In any event, any actually sensitive or personal information that is responsive

to particular requests can be subject to a protective order, eliminating any claimed

harms from public disclosure. As other courts have recognized, “the answer” to First

Amendment privilege claims “is not to suppress [all] evidence, but rather to exercise

judicial discretion by providing protection short of suppression.” Duke Energy, 218

F.R.D. at 473. Yet here again, the interest groups “fail[] to offer any proposal for

protection less than suppression.” Id. Instead, they offer only the unexplained, blan-

ket assertion that production subject to a protective order “could nonetheless become

public.” Mot. 19. This Court should not decide this motion based on conspiracy the-

ories that court officials or parties might flout judicial orders.15

       Last, even if the interest groups had shown a First Amendment burden as to

some specific requests, Defendants would still be entitled to this highly relevant ma-

terial that (as the groups do not dispute) cannot be obtained elsewhere. The federal

discovery rules “further[] a substantial governmental interest unrelated to the sup-

pression of expression”: “enabl[ing] parties to litigation to obtain information




15
   The interest groups reference a purported “leak[]” of generalized information about subpoenas
in a Florida case. Mot. 19-20. But the interest groups do not suggest that such information was
protected by court order, much less explain how the disclosure of unprotected information in an-
other case suggests that court officials or parties would violate a protective order in this case.

                                               33
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 41 of 44




relevant to the subject matter involved that they believe will be helpful in the prep-

aration and trial of the case.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 34 (1984)

(cleaned up). “The need to develop all relevant facts in the adversary system is both

fundamental and comprehensive,” for “[t]he very integrity of the judicial system and

public confidence in the system depend on full disclosure of all the facts, within the

framework of the rules of evidence.” United States v. Nixon, 418 U.S. 683, 709

(1974). And in this specific case, State Defendants seek to uphold the democratic

will of the people, who acted through their elected representatives to protect chil-

dren. See Otto v. City of Boca Raton, 981 F.3d 854, 868 (11th Cir. 2020) (“[A]

State’s interest in safeguarding the physical and psychological wellbeing of a minor

is compelling.” (cleaned up)). Because Defendants seek highly relevant information

that cannot be obtained elsewhere and is necessary to a full adjudication of Plaintiffs’

and the United States’ attack on a presumptively valid state statute, Defendants are

entitled to the requested discovery regardless of alleged “deterrent effect[s].” Perry

v. Schwarzenegger, 591 F.3d 1147, 1161 (9th Cir. 2010).

                                   CONCLUSION

      Defendants take their discovery obligations seriously, including the duty to

avoid imposing undue burden or expense on third parties. And they wholeheartedly

support the First Amendment right of citizens to associate, to debate, to petition their

legislators for change without fear that the government will seek irrelevant discovery



                                          34
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 42 of 44




as a means to chill speech. That is why Defendants so vehemently defended Eagle

Forum and Southeast Legal Institute when the federal government came knocking.

      The dispute here is nothing like that. Whereas no one so much as mentioned

Eagle Forum and Southeast Legal Institute at the preliminary injunction phase,

nearly everyone—Plaintiffs, the United States, their expert witnesses, and this Court

in its preliminary injunction order—put the positions of AAP, WPATH, and the En-

docrine Society front and center. The Court should thus deny the interest groups’

motion to quash and order them to produce documents so Defendants can test the

evidence upon which Plaintiffs and the United States have built their case. Other-

wise, the Court should exclude at summary judgment and trial all evidence based on

the opinions of the interest groups.


                                           Respectfully submitted,
                                           Steve Marshall
                                            Attorney General
Christopher Mills (pro hac vice)           s/ Edmund G. LaCour Jr.
SPERO LAW LLC                              Edmund G. LaCour Jr. (ASB-9182-
557 East Bay Street, #22251                U81L)
Charleston, South Carolina                  Solicitor General
29413                                      A. Barrett Bowdre (ASB-2087-K29V)
(843) 606-0640                             Thomas A. Wilson (ASB-1494-D25C)
CMills@Spero.law                            Deputy Solicitors General
                                           James W. Davis (ASB-4063-I58J)
David H. Thompson (pro hac                  Deputy Attorney General
vice)                                      Benjamin M. Seiss (ASB-2110-
Peter A. Patterson (pro hac vice)          O00W)
Brian W. Barnes (pro hac vice)              Assistant Attorney General
John D. Ramer (pro hac vice)


                                         35
  Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 43 of 44




COOPER & KIRK, PLLC                 OFFICE OF THE ATTORNEY GENERAL
1523 New Hampshire Ave., NW         STATE OF ALABAMA
Washington, D.C. 20036              501 Washington Avenue
(202) 220-9600                      Post Office Box 300152
dthompson@cooperkirk.com            Montgomery, Alabama 36130-0152
ppatterson@cooperkirk.com           Telephone: (334) 242-7300
bbarnes@cooperkirk.com              Facsimile: (334) 353-8400
jramer@cooperkirk.com               Edmund.LaCour@AlabamaAG.gov
                                    Barrett.Bowdre@AlabamaAG.gov
Roger G. Brooks (pro hac vice)      Thomas.Wilson@AlabamaAG.gov
ALLIANCE DEFENDING FREEDOM          Jim.Davis@AlabamaAG.gov
15100 N. 90th Street                Ben.Seiss@AlabamaAG.gov
Scottsdale, AZ 85260
(480) 444-0200
rbrooks@adflegal.org




                                  36
   Case 2:22-cv-00184-LCB-CWB Document 219 Filed 01/17/23 Page 44 of 44




                         CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on January 17, 2023, which will serve all counsel of record.

                                      s/ Edmund G. LaCour Jr.
                                      Counsel for Defendants




                                        37
